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                           FOR THE W ESTERN DISTRICT OF VIRGINIA
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                                  CHA RLOTTESV ILLE D IV ISION                      ;
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    UN ITED STA TES O F A M ERICA                 )
                                                  )    CriminalActionNo.3:14CR00016
                                                  )
                                                  )    AM ENDED M EM ORANDUM OPINION
    D AN IEL LA M ON T M A THIS,etal.,            )
                                                  )    By:Hon.GlenE.Conrad
           D efendants.                           )    ChiefUnited StatesDistrictJudge

           On October22,2014,HalisiUhul'
                                       u (C'Halisi''),Anthony DarnellStokes($tStokes''),and
    fourcodefendantswere charged in amulti-countsuperseding indictment. Halisiand Stokeswere

    nam ed in the first count of the superseding indictment,which charged the defendants with

    conspiracytoparticipatein aracketeering enteprise,inviolationof18U.S.C.j 1962(d). They
    werealso charged with obstruction ofjustice,in violation of18 U.S.C.j 1512(c)(1),based on
    their involvem entin the enterprise's efforts to concealand destroy evidence associated w ith the

    robbery,abduction,and murder of Kevin Quick. A1l six defendants proceeded to trialin
    February of 2016,and were convicted of each offense with which they were charged. On

    November28,2016,thecourtconductedahearingonthemotionsforjudgmentofacquittalfiled
    by Halisiand Stokes,and theparties'writtenobjectionsto theUnited StatesProbation Oftice's
    calculations under the U nited States Sentencing Guidelines. This m em orandum opinion sets

    forththecourt'srulingsonthosemotionsandobjections.
           1.     M otions for Judam entofA cquittal

           The defendants' motions for judgment of acquittal challenge the sufficiency of the
    evidenceto supporttheirconvictions. W hen amotion forjudgmentofacquittalisbased on a
    claim ofinsufficientevidence,thejuryverdictçtmustbesustainedifthereissubstantialevidence,
    taking the view m ostfavorable to the Governm ent,to supportit.'' G lasserv.United States,315




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    U.S.60,80 (1942). Stsubstantialevidence isevidence thata reasonable finderoffactcould
    accept as adequate and suffcient to support a conclusion of a defendant's guilt beyond a

    reasonable doubt.'' U nited States v. Green, 599 F.
                                                      3d 360,367 (4th Cir.2010) (citation and
    internalquotation marks omitted). In determ ining whether substantial evidence supports a
    verdict,the courtconsiders both circum stantial and direct evidence,drawing all reasonable

    inferences from such evidence in the governm ent's favor. United States v.Harvey,532 F.3d

    326,333 (4th Cir.2008). The coul'tdoes notreweigh the evidence or reassess the jury's
    determination ofwitnesscredibility,United Statesv.Brooks,524 F.3d549,563(4th Cir.2008),
    and can overturn a conviction on insufficiency grounds k'only w hen the prosecution's failure is

    clear,''United Statesv.M oye,454 F.3d 390,394(4th Cir.2006)(citationandintenzalquotation
    marksomitted).Thus,adefendantchallengingthesufficiencyoftheevidencemustovercomea
    ksheavyburden.''UnitedStatesv.Encle,676F.3d405,419(4thCir.2012).
           A.      C ount1

           A s set forth above, Count 1 of the superseding indictm ent charged the defendants w ith

    conspiracy to participate in a racketeering enterprise,in violation of the Racketeer Influenced

    and CorruptOrganizationsAct($iR1CO''))18 U.S.C.j 1962(d). RICO makesitStunlawfulfor
    any person employed by orassociated with any enterprise engaged in,orthe activitiesofwhich

    affect, interstate or foreign com m erce, to conduct or participate, directly or indirectly, in the

    conductofsuch enterprise'saffairsthrough apattel'
                                                    nofracketeeringactivity ....'' 18U.S.C.j
    1962(c). A lûpattern of racketeering''consists ofikatleasttwo acts ofracketeering activity''
    occurring within aten-yearperiod,18U.S.C.j 1961(5),which areCkrelated''and ttposeathreat
    ofcontinuedcriminalactivity.''H.J.lnc.v.Nw.BellTel.Co.,492U.S.229,239(1989).These
    (ûgrjacketeeringacts,oftenreferredtoaspredicateacts,includeanyactorthreatinvolving




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    m urder,kidnapping,gambling,arson,robbery,bribery,extortion,dealing in obscene m atter,or

    dealing in a controlled substance chargeable under state law and punishable by im prisonm entfor

    morethan one year.'' United Statesv.Cornell,780 F.3d 616,623 (4th Cir.2015)(citing 18
    U.S.C.j 1961(1)(A)). The predicate acts also include çûany actwhich is indictable under
    gcertainlprovisionsoftitle 18,'5includingéisection 1512,''18U.S.C.j 1961(l)(B),which makes
    itunlawfulto 'çcorruptly ..,altergj,destroyl),mutilateg),orconceallja record,document,or
    otherobject,orattemptglto do so,withtheintentto impairtheobject'sintegrity oravailability
    foruseinan officialproceeding,''18U.S.C.j 1512(c)(1).
           H alisi and Stokes were convicted under RlCO 's conspiracy provision, which prohibits

    anyone from conspiring to violate the provisionsof 18 U.S.C.j 1962(c). See 18 U.S.C j
    1962(d). To satisfy j 1962(d), the government must prove the following elements:
    tkhatan enterpriseaffecting interstatecommerce existed'';(2)it'thateach defendantknowingly
    and intentionally agreed with another person to conduct or participate in the affairs of the

    enterprise'';and (3)isthateach defendantknowinglyand willfully agreed thathe orsome other
    m em ber of the conspiracy w ould com m it at least tw o racketeering acts.'' United States v.

    Mouzone,687 F.3d 207,218 (4th Cir.2012) (citation and internalquotation marks omitted).
    Unlikethegeneralconspiracy statute applicableto federaloffenses,18U.S.C.j371,j 1962(d)
    does notrequire the com mission ofany overtor specific actin furtherance ofthe conspiracy.

    Salinasv.United States,522 U.S.52,64 (1997). lnstead,an agreementissufficient. ld.;see
    also M ouzone,687 F.3d at218.

           1.     H alisi's M otion

           ln seekingjudgmentofacquittalon Count1,Halisiargues,ashedidduringtrial,thatthe
    evidence connecting him to the alleged enterprise in this case, the 99 G oon Syndikate, w as

    insufficient. He points outthathe w asincarcerated during partofthe charged tim e fram e ofthe


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    conspiracy,thathe did notpersonally recruital1ofthe otherm em bers ofthe 99 G oon Syndikate,

    thathe did notorderor directany ofthe specific robberies com m itted by otherm em bers,and that

    he had no involvementin the actualkidnapping and murder ofKevin Quick. According to
    Halisi, the government's evidence showed that he was m erely associated with the charged

    enterprise,notthatheknowingly and willfully agreed to participate in itsaffairs.

           V iew ing the evidence in the lightm ost favorable to the governm ent,how ever,the court

    concludesthatthereissubstantialevidenceintherecordtosupportthejury'sverdictonCount1.
    The evidence at trial,w hich included the testim ony ofgang m em bers A nthony W hite,Devante

    Bell,and Shiquan Jackson,the gang'sdocumentsand ltbooksofknowledge,''and textm essages

    sentby Halisiand his codefendants,dem onstrated thatH alisiw asthe highest-ranking m em berof

    the 99 Goon Syndikate,which was a crim inalentep rise of comm only associated individuals

    who engaged in multiple actsofracketeering forthe mutualbenefitofthe gang'smembersand

    the gang itself. A s the highest-rarlking m ember of the 99 Goon Syndikate, H alisi was

    responsible forpassing down the gang'slingo and rulesto otherm embersofthe enterprise. He

    also m entored and provided guidance to low er rnnking m em bers of the gang,such as Shantai

    Shelton,w ho was advised by Halisithat she w ould ultim ately m ove up in rank if she continued

    to ''putin work.'' Halisi'smessageto Shantaiwasconsistentwith otherevidence introduced by

    the governm ent,which indicated that m em bers ofthe 99 Goon Syndikate w ere expected to ikput

    in work,''which meant, in essence,to comm it robberies and other racketeering acts. By

    com m itting these crim inal acts, as gang insider A nthony W hite testified, m em bers of the

    enterprise hoped that they w ould earn both respect and rank, and ultim ately m ove up in the

    organization.




                                                  4

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           W hile there isno evidence thatHalisiordered,direded,or was personally involved in

    any of the particular robberies thatw ere com m itted by m em bers ofthe 99 G oon Syndikate,the

    governm ent's evidence established thatH alisibenefitted from the acts ofracketeering com m itted

    by othergang m em bers. For instance,Halisireceived a .38 caliberrevolverfrom A nthony W hite

    thathad been taken from the residence ofM ichaelShaffer,and then bragged to a w itness thathe

    had gotten itfrom one ofhisdkhomies''who had been Cûputting in work.'' SeeDkt.No.704 at35.

    The government'sevidence also established thatHalisiwaspersonally involved in atleasttwo

    actsofracketeering,namelyconspiracytodistributenarcoticsandobstnlctionofjustice.
           Although Halisiiscorrectikthatthe RICO conspiracy statute does notûcriminalize m ere

    association with an enterprise,''' M ouzone,687 F.3d at218 (citation omitted),the evidence in
    this case illustrates far more than his 'tm ere association''with the 99 Goon Syndikate. W hen

    eonstrued in thegovernm ent'sfavor,therecord clearly showsthatHalisiwasawareofthe nature

    of the enterprise, that he w as a leader of the enterprise who guided other m em bers, that he

    received the proceeds of racketeering acts com m itted by low er-ranking m em bers, and that he

    directly participated in atleasttwo racketeering actsunderlying the alleged conspiracy. ln light

    of such evidence, it sim ply cannot be said that H alisi w as a m ere associate of the 99 G oon

    Syndikate.Accordingly,hismotionforjudgmentofacquittalonCount1mustbedenied.
           2.      Stokes'M otions

           Stokeshasalso moved forjudgmentofacquittalon Count1. ln addition to adoptingthe
    jointmotion forjudgmentofacquittalfiled by DanielM athisand KweliUhuru,aswellasthe
    motionforjudgmentofacquittaltiledbyHalisi,Stokes'currentcounselhasfiledonhisbehalfa
    m otion challenging the sufficiency ofthe evidence w ith respectto the third elem entsetforth in




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    M ouzone.l Specifically,Stokes argues thatthe govenunent failed to prove that he Stknow ingly

    and w illfully agreed thathe or som e otherm em berofthe conspiracy w ould com m itatleasttw o

    racketeering acts.'' M ouzone,687 F.3d at 218. For the follow ing reasons,the courtconcludes

    thatthe evidencepresented bythe government,when viewed in itsfavor,wassufticientto allow

    a reasonable jury to find that Stokes personally committed atleast two racketeering acts.2
    Accordingly,Stokes'motionforjudgmentofacquittalbasedonthethirdelementwillbedenied.
            First,as Stokes seem ingly concedes in the m em orandum tiled in supportofhis m otion,

    the governm ent's evidence dem onstrated that he com m itted m ultiple acts establishing his

    participation in a conspiracy to distribute narcotics. W hile Stokes argues that the narcotics

    conspiracy wasunrelated to the 99 Goon Syndikate,there was ample evidence from which the

    jury could reasonably find to the contrary.3 The government's evidence demonstrated that
    Stokes w as the second-highest-ranking m em ber of the 99 Goon Syndikate, and that the gang


             ' For the reasons stated in the court's previousmemorandum opinion denying the motion tiled by
    DanielM athisand KweliUhuru,the courtwilldeny Stokes'motion adopting the argumentsmade by his co-
    defendants.Likewise,in lightoftheevidencepresentedbythegovernment,itcannotbe said thatStokeswasa
    ddmere associate''ofthe 99 Goon Syndikate. Accordingly,the courtwilldeny Stokes'motion adopting the
    argumentsmadeby HalisiUhuru. Finally,the courtisunableto conclude thatany oftheadditionalarguments
    raised inStokes'prosemotionswarrantajudgmentofacquittal.Thus,thosemotionswillalsobedenied.
            2 In addition to arguing thathe did notpersonally comm itany qualifying racketeering acts Stokes
                                                                                                     ,
    arguesthatthe government'sevidence was insufficientto establish thathe agreed thatothermembers ofthe
    conspiracy would comm it certain of the predicate acts alleged in the superseding indictment,such as the
    various acts of robbery thatwere committed by his fellow gang members. Relying on the Fourth Circuit's
    recentdecision in United Statesv.Barnet 't,No.14-4866, 2016 U.S.App.LEXIS 18394 (4th Cir.Oct.12,
    20l6),Stokescontendsthatthegovernmentfailed to identify any Gûspeciticactof...robbery'' towhichhe
    agreed,andthatwithoutsuch evidence,Stno reasonablejurorcould find,based solely on ghis)associationwith
    (theenterprisel,that(heqagreedto predicateactsof...robbery.'' Barnett,2016U.S.App.LEXIS 18394,at
    *29. W hile thegovernmenthas identified a numberoffactsthatdistinguish Stokes'involvementin theRICO
    conspiracy from that of the female defendant in Barnet
                                                         t the court ultimately need not decide this issue.
    Because the governm ent's evidence w assufticientto establish thatStokespersonally com m itted atleasttw o
    racketeering acts,the courtneed notaddresswhetherStokes'conviction may also restupon otheractsthathe
    did notpersonally com m it.
            3 Likew ise, the evidence in the record, including the testimony of Jamar Rice, belies Stokes,
    characterization ofthe quantity of narcotics forwhich he was responsible asa (ddecidedly modestamount.''
    Dkt.No.872 at6.
                                                       6

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    created a code to disguise theirlanguage when discussing narcotics, Following the murder of

    Kevin Quick,fourmembersofthe CentralVirginialineofthe 99 Goon Syndikatetraveled to
    M anassas to m eet with H alisi and Stokes,the tirst and second in com m and. The evidence at

    trial,including Stokes'own textmessages,established thatthe m eeting wasimportantand that

    attendance w as considered m andatory. At that m eeting, Stokes recruited Shantai Shelton to

    distribute narcotics for him in the ditzouisa/charlottesville area,''and Shantai agreed to do so.

    See Dkt. N o. 710 at 129. M oreover, as a result of his involvem ent in the distribution of

    narcotics, Stokes w as able to provide financial support to other m em bers of the 99 Goon

    Syndikate,including the four members responsible for Kevin Quick's murder,who Stokes
    assisted whilethey were evading law enforcement. Forthese reasons,the evidencepresented by

    the govem m ent w as sufficientto establish notonly that Stokes w as involved in a conspiracy to

    distribute narcotics, but that this racketeering activity w as related to the operation of the

    enterprise.

           Second,the government's evidence established that Stokes personally committed the

    predicateracketeeringactofobstruction ofjustice,inviolation of18U.S.C.j1512(c)(1).W hile
    Stokes argues in a separate m otion thathe is not guilty of the charged obstruction offense,the

    courtdisagreesforthe reasonssetforth below .

           ln sum, the evidence presented by the governm ent,when viewed in its favor,was

    sufficienttoallow areasonablejurytofindthatStokesagreedtocommit,and infactcommitted,
    atleasttwo actsofracketeering. Accordingly,Stokes'm otion challenging the sufticiency ofthe

    evidence asto the third elem entofthe RICO conspiracy offense m ustbe denied.




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           I1.     Coqpt76
           Count 36 of the superseding indictm ent charged H alisi and Stokes w ith obstruction of

    justice,inviolationof18U.S.C.j 1512(c)(1).Underthisstatute,anypersonwhoûicorruptly ...
    alters,destroys,mutilates,orconcealsarecord,document,orotherobject,orattemptstodo so,
    with theintentto impairtheobject'sintegrityoravailabilityforusein an officialproceeding...
    shallbe fined underthistitle orimprisoned notmore than 20 years,orboth.'' 18 U.S.C.j
    1512(c)(1). Forpurposesofthestatute,an icofficialproceeding''includesaproceedingbeforea
    federaljudge,court,orgrandjury,butnotastate proceeding. See 18U.S.C.j 1515(a)(1)(A).
    How ever,the qualifying proceeding ktneed notbe pending oraboutto be instituted atthe tim e of

    theoffense,18U.S.C.j 1512(9(1),and the governmentneednotprovethatthedefendantwas
    awarethattheproceeding wasfederalin nature. See 18U.S.C.j 1512(g)(1)($i1naprosecution
    for an offense under this section, no state of m ind need be proved w ith respect to the

    circumstance...thattheofficialproceeding ...isbeforeajudgeorcourtoftheUnited States,
    gorjaFederalgrandjtzry....'').
           B.     H alisi's(
                           M otions

           Halisifiled awritten motion forjudgmentofacquittalchallenging thesufficiencyofthe
    evidence to supporthisconviction for obstruction ofjustice. The argumentadvanced in the
    written m otion is essentially a credibility challenge. Halisi argues that i'the only evidence

    against him regarding the obstruction charge cam e from Leslie H ope Casterlow y'' and that

    Casterlow's testim ony was not worthy of belief since she ktadm itted to lying on num erous

    occasionsto the police and otherofficials involved in thiscase.'' Dkt.N o.754 at4.

           As explained above,itwas thejury'srole to assess the credibility of witnesses and
    resolve any conflicts in the w itnesses'testim ony. See Brooks,524 F.3d at 563. Because the

    courtis notpennitted to analyze the credibility of w itnesses or re-weigh their testim ony w hen



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    evaluating the sufficiency of the evidence, Halisi's credibility challenge is without m erit.

    M oreover, w hile Leslie Casterlow 's testim ony established that H alisi w as directly involved in

    the efforts to conceal and destroy evidence of the robbery, abduction, and m urder of K evin

    Quick,itwasnottheonly evidenceofferedby thegovernment.Instead,thetestimony ofgang
    m embersShiquan Jackson and Devante Bellrevealed thatHalisiwas involved in the effortsto

    disposeofQuick'svehiele,and theirtestimony wascorroborated by a seriesoftextmessages
    betweenHalisiandothergangmembers.Forthesereasons,Halisi'swrittenmotionforjudgment
    ofacquittalon Count36 m ustbe denied.4

            C.     Stokes'M otion

            Stokesfiledaseparatemotionforjudgmentofacquittalchallengingthesufficiencyofthe
    evidencetosupporthisconvictionunderj1512(c)(l).Stokesdoesnotclaim,norcouldhe,that
    the evidence was insufficient to establish his involvem ent in the destruction of evidence.

    lnstead,relying on the Suprem e Court's decisions in U nited States v.A guilar, 515 U .S.593

    (1995)andArthurAnderson LLP v.UnitedStates,544 U.S.696(2005),Stokesarguesthatheis
    entitled to an acquittalbecause the governm entfailed to establish a sufficientSinexus''betw een a

    proceeding and hisobstructive conduct.

           ln Aguilar,the Supreme Courtconsidered the intentelementunder 18 U.S.C.j 1503,
    which makesitunlawfulto tcccorruptly endeavorg)to intluence,obstruct,orimpede,the due
    administration ofjustice.'''Aguilar,515U.S.at598.lnanefforttoçdplacemetesandboundson
    theverybroadlanguage''ofthestatute,theSupremeCourtheldthatC'gtlheactionsoftheaccused
    mustbewith anintenttoinfluencejudicialorgrandjuryproceedings,''andthattlitisnotenough

             4 During the hearing on November28, 2016,Halisialso adopted Stokes,argumentthathe should be
    acquitted on the obstruction count because the government failed to establish that he had a reasonable
    Iikelihood ofknowing thathis actionswould affecta federalproceeding. Forthe reasonssetforth below,the
    courtconcludes that the argumentadvanced by Stokes is contrary to the plain language ofthe obstruction
    statute. Accordingly,Halisi'soralmotion adopting thatargumentwillbedenied.



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  that there be an intent to influence som e ancillary proceeding, such as an investigation

  independentofthecourt'sorgrandjury'sauthority.''J;.sat599. TheSupremeCourtnotedthat
  som e courts had dtphrased this show ing as a ûnexus' requirem ent - that the act m ust have a

  relationship in time,causation,orlogic with thejudicialproceedings.'' 1d.(internalcitations
  omitted), Skln other words,the endeavor must have the ûnatttral and probable effect' of
  interferingwiththedueadministration ofjustice.''1d.(internalcitationsomitted).
         ln Arthur A nderson, the Suprem e Court extended the Acuilar nexus requirement to

  prosecutions under 18 U.S.C. j 1512(b), which dtmakelsj it a crime to 'knowingl
                                                                                y use
  intimidation orphysicalforce,threaten,orcorruptly persuade anotherperson ,..with intentto

  cause'thatperson to kwithhold' docum ents from ,or çalter'documents for use in,an ûofticial

  proceeding.''' ArthurAnderson,544 U.S.at698(quoting 18U.S.C.j 1512(b)(2)(A)and (B)).
  ln that case, the Suprem e Court relied on A cuilar to support its conclusion that although éça

  proceeding (need not be pending or about to be instituted at the tim e of the offense,''' a

  proceeding mustbe atleastforeseeabletothedefendant. Ld.
                                                        us(quoting 18U.S.C.j 1512(e)(1).
  The Courtemphasized that a defendant who i'Clacks knowledge thathis actions are likely to

  affectga1judicialproceeding ...lacksthe requisiteintentto obstruct.''' Id.(quoting Aguilar,
  515U.S.at599).
         N eitherthe Suprem e Coul'
                                  tnorthe U nited States CourtofA ppeals forthe Fourth Circuit

  has decided w hether the nexus requirem entarticulated in A guilar and ArthurA nderson extends

  to prosecutions under 18 U.S.C.j 1512(c)(1). However,at least one appellate courthas
  determinedthatthesamelogiciiapplieswith equalforceto j 1512(c)(1)becausethatsubsection,
  like j 1512(b)(1), speaks in terms of the relationship between obstructive acts and a




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  proceeding.''5 United States v M atthews,505 F.3d 698,708 (7th Cir.2007) (holding that
                                 .




  '%beforeadefendantmaybeconvictedofobstructionunderj 15l2(c)(1),hemustbelievethathis
  acts willbe likely to affecta pending orforeseeable proceeding''l;see also United States v.
  Adann, 685 F.3d 714, 723 (8th Cir. 2012) (assuming arguendo that the '
                                                                       tAguilar nexus
  requirement''appliesto j 1512(c)(1)). ln this case,the courtfinds iturmecessary to decide
  whetherAguilarand ArthurAnderson apply to j 1512(c)(1). Even assuming thatthe nexus
  requirementarticulatedinthosedecisionsshouldbeimputedtoprosecutionsunderj1512(c)(1),
  the evidence attrialestablished thatan officialproceeding w asforeseeable to Stokes,and thathis

  eondud wasintendedto affectsuch proeeeding.

         The evidence adduced attrialincluded the testim ony ofJam arR ice,who w as w ith Stokes

  afew daysafterthemurderofKevinQuick. W hilethetwoweretravelingtoahotelinNorthern
  Virginiawhere the otherdefendantswere staying,Stokesreceived a phone call. Following the

  call,Stokesappeared nervous. W hen Rice asked StokesStwhatwasgoing on,''Stokes initially

  indicated that Rice ktdidn'tw antto know v'' Dkt.N o.704 at 43. A fter a few m om ents,Stokes

  told Ricethatikthefed --thepolicehadkicked in thedoortotheplace''wherethey wereheaded,

  andthattheycouldno longergothere.J.#-. OnthewaybacktoM anassas,StokestoldRicethat
  tdsome of his hom ies had been involved in som e things,'' more specifically that they had

  *dcarjackedaman,theytookhiscar,theyranthroughhispocketsgandlfoundouthewasapolice
 officer,gandlthey took him into the woodsand they killed him ,'' 1d.at44. Stokesfurther
 relayed that,follow ing the m urder,Cdthey w entto a neighborhood and tried to rob a m an thatw as

  selling weed,''buttsptlhey endedup shootinghim gandthejclip felloutofthegtm.'' 1d.at45.
 R ice testified that Stokes was i'concerned''aboutthe clip falling out of the gun,because itcould


         5Severalappellatecourtshaveappliedthenexusrequirementtoj 1512(c)(2) See,e.R.,United States
                                                                            .

 v.Petruk,78lF.3d438,444(8thCir.2015)(collectingcases).
                                                11

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  Sktracegqthe gun back to the murder''and kihe was roughly tied into itv'' 1d.at46. Stokes
  explained that the tirearm had been disassem bled but w as still in the possession of Leslie

  Casterlow . The governm ent's evidence established that Stokes, Halisi, and Casterlow

  subsequently drove along 1-495 in the m iddle of the night and disposed of the disassem bled

  firearm by pitching itovera highway barricade. On the same day thatthey disposed ofthe

  weapon,the internethistory on Stokes'phone contained links regarding the search for Kevin

  Quick,a warrantissued in connection with the search,and the discovery ofQuick'svehicle.
  A dditionally,the governm ent's evidence established thatthe FederalBureau oflnvestigation w as

  involved in the investigation from the very beginning.

         The evidence presented by the government,when viewed in its favor,established that

  Stokesknew thathiscodefendantshad murdered an officer,thatlaw enforcem enthad Cskicked in

  the door''to theirhotelroom and arrested them ,and thatthe m urderw eapon - the sam e weapon

  used in a subsequent shooting - w as with Casterlow ,and thatStokes believed thathe w astied to

      Under these circumstances,a jury could easily infer that an ofticial proceeding was
  foreseeable to Stokes,and thathis subsequentinvolvem ent ip the disposalofthe fireann was

  intended to affectits availability in such proceeding. Accordingly,the governm entintroduced

  ample evidenceto satisfy any nexusrequirementapplicable to j l512(c)(1)underAguilarand
  A rthurA nderson.

         Stokes also goes one step further and argues that the evidence failed to establish a

  sufficientnexusto afederalproceeding;in otherwords,thathe should beacquitted on Count36

  becausehehad no reasonable likelihood ofknowing thattheinvestigation into Quick'smurder
  related to a federal proceeding as opposed to a state proceeding. The court agrees w ith the

  governm ent that Stokes' argum ent in this regard is ûçcontradicted by the plain statutory

  language.'' United Statesv.Stanlev,533 F.App'x 325,329 n.* (4th Cir.2013). çilnparticular,
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  the statutespecifiesthata qualifying proceeding tneed notbe pending oraboutto be instituted at

  thetimeoftheoffense,'18U.S.C.j 1512(9(1),andthatûnostateofmind need beprovedwith
  respectto thecircumstance ...thattheofficialproceeding ...isbeforeajudgeorcourtofthe
  United States,''id.atj l512(g).''Id.;seealsoUnitedStatesv.Phillips,583 F.3d 1261,1264-65
  (10th Cir.2009) (C$Mr.Phillipscontends thatthe evidence only demonstrates he was aware
  O fficer Bice w as a police officer,notthat he was aw are of an ongoing or future federalgrand

 jury investigation.Hearguesthatthisisinsufficienttoestablish therequisite mensreaunderj
  1512(c)(2). W edisagreewith Mr.Phillips'sassessmentof...thelaw ....First,j 1512(c)(2)
  does notrequire thatthe defendantknew of the existence of an ongoing officialproceeding.

  Rather,a conviction under the statute is proper if it is foreseeable that the defendant's conduct

  willinterfere with an officialproceeding           Second,j 1512(g)(1) makes clear thatthe
  governm entneed notprovethe defendantknew thattheofficialproceeding atissuewasafederal

  proceeding suchasagrandjury investigation.''l;United Statesv.Felton,500 F.App'x 65,66-67
  (2d Cir.2012)(holding thatthedefendant'srequestedjury instruction - tithatthe govermnent
  mustprovethatthedefendantforesaw thepossibilitythat(aj1iewouldmakeitsway to afederal
 proceeding''-wask'aninaccuratestatementofthelaw'')(emphasisin original)(citing 18U.S.C.
  j 1512(g)(1)).
         M oreover,for the reasons discussed during the hearing,the tw o cases on which Stokes

 prim arily relies to supporthis federalnexus argum ent are clearly distinguishable on their facts.

  SeeUnitedStatesv.Petruk,781F.3d444,446(8thCir.2015)(vacatingadefendant'sconviction
 for attempting to obstruct an ofticialproceeding under 18 U.S.C. j 1512(c)(2) where the
 defendant's conduct in 2012 was ûûunequivocally directed at obstnlcting gexistingj state
 proceedingsand notthe federalproceedingswhich he was eventually subjected to in 2013'');
 United Statesv.Tyler,732 F.3d 241,250 (3d Cir.2013)(holding thatthe record supported a
                                                13

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  petitioner'sclaim thathe wasactually innocentofa federalobstruction charge arising from the

  m urder of a w itness scheduled to testify against the petitioner's brother in state court, since

  Cstherewasno evidencethatTyler'sconductwasdirected atpreventing (thewitness'sltestimony
  atanything other than as a w itness to a state drug offense atTyler'sbrother's state trial,''and a

  specialagentconceded thatno federalcase involving the witnesshad been discussed atthetim e

  ofherdeathandtherewasnoplantouseherinafederalproceeding).
         Fora11ofthesereasons,Stokes'challengesto the sufficiency oftheevidencearewithout

  merit.Accordingly,themotionforjudgmentofacquittalonCount36willbedenied.
         I1.     O biectionsto Stokes'PresentenceReport
                    .




         A.     A pplication ofthe G roupina Rules

         Stokes objected to two portions of the presentence repol't(ççPSR'')that affected the
  calculation ofthe applicableGuidelinesrangeofimprisonment. Thefirstobjection pertainsto
  the application of the grouping provisions of the Sentencing Guidelines. The Probation O ffice

  grouped the RICO conspiracy countand the obstruction countpursuantto j 3D1.2(a),which
  providesthattkcountsinvolvgingjthe samevictim and the same actortransaction''should be
  placed into asinglegroup forsentencing purposes. SeePSR !90(citing U.S.S.G.j3D1.2(a)).
  The Probation Office then used the guideline provisions applicable to the conspiracy countto

  determinethe adjusted offense levelforthegrouped charges,since they produced the highest
  offense level. SeeU.S.S.G.j3D1.3(a)(1û1n thecaseofcountsgrouped togetherpursuantto j
  3D1.2(a)-(c),the offense levelapplicable to the Group is the offense level,determined in
  accordance with Chapter Tw o and Parts A ,B,and C of Chapter Three,for the m ost serious of

  thecountscomprisingtheGroup,i.e.,thehighestoffenselevelofthecountsintheGroup.'').
         Pursuantto j2E1.1oftheSentencing Guidelines,thebaseoffenselevelforadefendant
  convicted of a RICO offense is the greater of 19 or tdthe offense level applicable to the
                                                 14

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  underlyingracketeering activity.''U.S.S.G.j2E1.1.TheApplicationNotesto j2E1.1provide
  that(tgwlhere there ismore than one underlying offense,treateach underlying offense as if
  contained in a separate countofconviction forthepurposesofsubsection (a)(2).'' U.S.S.G.j
  2E 1,1 app.n.1. In addition,the A pplication N otesdirectthe courtto (kapply ChapterThree,Parts

  A ,B,C ,and D ''to determ ine w hether an underlying offense produces an offense level greater

  than 19. I#.
         ln Stokes'case,the Probation Office identified thrce underlying racketeering offenses:

  robbery (designated inthePSR asOvertActNo.1),narcoticsdistribution (designatedasOvert
  ActNo.2),and obstruction ofjustice(designated asOvertActNo.3). The Probation Office
  then calculated the adjusted offense levelforeach offense. Thosecalculationsresulted in an
  adjusted offense levelof26 forOvertActNo.1(robbery),an adjusted offense levelof19for
  OvertActNo.2(narcoticsdistribution),and anadjustedoffenselevelof30 forOvertActNo.3
  (obstruction ofjustice). TheProbation Officethen applied j3171.4to determinethecombined
  adjustedoffenselevelfortheunderlyingoffenses.OvertActNo.1(robbery)and OvertActNo.
  3 (obstruction ofjustice)were each assigned one unit,which yielded a two-levelincrease in
  offenselevelunderj3D1.4,andacombinedadjustedoffenselevelof32.
         lnhisfirstobjection to thepresentencereport,StokescontendsthattheProbation Office
  erred by failingtogroup thepredicateracketeeringoffensesunderj3171.2 inthesamemanner
 that it grouped the offenses of conviction. Stokes further argues that he should not receive a

 multiple-countadjustmentunderj 3D1.4,and thathiscombined adjusted offense levelshould
  instead be nohigherthan 30,which istheadjusted offenselevelapplicableto OvertActNo.3
  (obstruction ofjustice). SeeU.S.S.G.j3D1.4 app.n.1(isApplication ofthenllesin jj391.2
 and 3D 1.3 m ay produce a single Group of Closely Related Counts. ln such cases,the com bined

 offense levelisthe levelcorresponding to the Group determined in accordance with j 3D1.3
                                               l5

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  gi.e.,thehighestoffenselevelofthecountsintheGroup1.'').Forthefollowingreasons,thecourt
  agrees.

         Pursuantto j3131.2,Skgalllcountsinvolving substantiallythesnmeharm shallbegrouped
  togetherintoasinglegroup.''U.S.S.G.j3D1.2.Section 3131.2then identifiesfourcategoriesof
  counts involving the sam e harm w ithin the m eaning ofthe provision:

         (a)W hencountsinvolvethesamevictim andthesameactortransaction.
         (b)W hen countsinvolvethe same victim and two ormore actsortransactions
         connected by a common criminalobjective or constituting partofa common
         schem e orplan.

         (c)W hen oneofthecountsembodiesconductthatistreated asaspecificoffense
         characteristicin,orotheradjustmentto,theguidelineapplicableto anotherofthe
         counts.

         (d)W hen theoffenselevelisdetermined largely onthebasisofthetotalamount
         ofharm orloss,the quantity ofa substance involved,orsome otherm easure of
         aggregate harm ,or ifthe offense behavior is ongoing or continuous in nature and
         the offense guideline isw ritten to cover such behavior.

  U.S.S.G.j3D1.2(a)-(d). Subsedion (d)listsavariety ofoffensesthatarespecifically excluded
  from itsoperation,including robbery,which is covered by U.S.S.G.j 2B3.1. Subsection (d)
  makesclear,however,thattheCsgelxclusion ofan offensefrom grouping underthissubsection
  doesnotnecessarily precludegroupingunderanothersubsection,U.S.S.G.j3D1.2(d);seealso
  United Statesv.W hite,810F.3d212,231(4th Cir.2016)(dkseveralcourtshavemadeclearthat
  offensesexcludedfrom groupingunderSubsection(d)(ofj3171.21mayneverthelessbegrouped
 pursuantto Subsection(a)or(b).'').
         After carefully considering the presentence report and the parties'argum ents,the court

 findsitappropriate to group thepredicate offensesofrobbery and obstruction ofjustice.6 As

         6 OvertA ct N o.
                            2 (narcotics distribution)was notassigned any unitsunderj 3Dl.4 and,thus,
 ultimately had noeffectonthedefendant'scombinedadjustedoffenselevel.Thus,thecourtneed notdecide
 whetheritshould also begrouped with theotherovertactsidentitied bytheProbation Office.
                                                   16

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  indicated above,subsection (b)ofj 3171.2 allowsforgrouping when countsinvolvethe same
  victim andtwo ormore actsconnected by acommon criminalobjective. SeeUnited Statesv.
  Porter,909 F,2d 789,793 (4th Cir.1990)(noting thatsubsection (b)of j 3171.2 tiallows for
  grouping w here the offenses in question constitute partof the sam e transaction or partof the

  samecontinuing,commoncriminalendeavor'').Here,theobstnlctiveactsundertakenby Stokes
  w ere partofan effortto aid hisco-conspirators in avoiding detection forthe robbery,abduction,

  and murder of Kevin Quick,and,thus,iiinvolvegdj''a common victim and were partofa
  common criminal endeavor.The nexus between the robbery of Quick and the subsequent
  obstructive acts is illustrated in paragraph 56 ofthe PSR,w hich provides,in pertinentpart,as

  follow s:

             Underthedirection ofthe leaderoftheenterprise,Stokeswasinvolved in the
         . . .

         effortsto relocate those mem bersinvolved in therobbery,abduction,and m lzrder
         ofKevinQuick.Hewasfurtherinvolvedintheeffortsoftheenterprisetodestroy
         documentsand evidenceassociated withthemurderofQuick ....Assecond in
         command,Stokes also directed othersto destroy evidence (debitcard,bloody
         clothes,cellphoncs,firearm,etc.)in furtherance of,and in an effortto conceal,
         crim inalacts ....

  PSR !56.
         In responseto Stokes'objection,the Probation Officehighlighted thefactthatmultiple
  itrobberies''were committed Cito fundtheracketeering organizationr''and,thus,thatQuick was
 nottheonlyrobbery victim. Seeid.at!92. Theproblem withthisargumentisthatparagraphs
  92 through 97ofthePSR,which calculatetheadjustedoffenselevelforthepredicateoffenseof
 robbery,do notcite to a particularrobbery or robbery victim for which Stokes could be held

 responsible, and there is no evidence that Stokes was actually involved in any of the specific

 robberies com m itted by the 99 Goon Syndikate. Perhapsforthisreason,the Probation O ffice




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  com bined a1lofthevariousrobberiesinto one group ofrobbery offenses,even though they were
  com m itted on separate occasions and involved different victim s.7 Because one of the grouped

  robbery offenses and the obstruction offense involved a com m on victim and a shared crim inal

  objective,thecourtbelievesthattherobbery andobstruction offensesareappropriately grouped
  underj 3D1.2(b). See United Statesv.Duncan,311F.Supp.2d 757,762 (N.D.Ind.2004)
  (holdingthatseparate countsofconviction forbankrobbery and maliciousburningofavehicle
  qualified for grouping under j 3D1.2(b),since étthe burning ofthe vehicle was partofthe
  Defendant'splanto avoiddetectionforthebarlkrobbery'').ThemerefactthatKevinQuickwas
  notthe only victim ofthe robberies com m itted by the 99 Goon Syndikate isnotdispositive under

  the circum stancesofthis particularcase,noristhe factthatotherm em bers of society can be said

  to be the victim s ofobstructive conduct.

         The court notes that its decision to group the predicate offenses of robbery and

  obstruction ofjusticeisconsistentwith theProbationOffice'sdecisionto group theoffensesof
  conviction. The decision is also consistent w ith the provisions of the Sentencing Guidelines

  applicableto obstruction ofjustice,which providethatsuch offenseisordinarily grouped with
  the underlying offense with respect to which the obstructive conduct occurred. See, e.c.,

  U.S.S.G.j3C1.1app.n.8.Foral1ofthesereasons,Stokes'objection to theapplication ofthe
  grouping rulesis sustained,and he willbeassigned a combined adjusted offense levelof30,
  which istheadjustedoffenselevelapplicabletotheunderlyingobstructionoffense.




          7 In this regard, Stokes,PSR differed from those prepared for co-conspirators who were actually
  involved in thecomm ission ofmultiple robberies.

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         B.      C areer O ffender Enhancem ent

         Stokes also argues that the Probation Office im properly designated him as a career .




  offenderunderj4B1.1oftheSentencingGuidelines.8 Section481.1providesthatadefendant

  is a careeroffender if:(1) the defendantwas atleast eighteen years o1d atthe time ofthe
  commission oftheinstantoffenseofconviction'
                                            ,(2)theinstantoffenseofconviction isafelony
  thatiseithera crime ofviolenceora controlled substanceoffense;and (3)the defendanthas
  been convicted oftwo prior crim es,each ofw hich was a felony conviction for either a crim e of

  violence ora controlled substanceoffense.U.S.S.G.j481.1(a).Here,there isno dispute that
  Stokeswasatleast18 yearsold when he comm itted theinstantoffenses.lnstead,Stokesargues

  that he should not be sentenced as a career offender because neither his instant offenses of

  conviction norhispriorconvictionsqualify asttcrimelsqofviolence''orçdcontrolled substance
  offensegsl''withinthemeaningofthecareeroffenderprovision.
         Thetermskçcrimeofviolence''andikcontrolledsubstanceoffense''aredetined in j481.2
  ofthe Sentencing Guidelines, The newly amended version of j 481.2 defines a çscrime of
  violence''as

         any offense under federal or state law , punishable by im prisonm ent for a term
         exceeding one year,that-

         (1)hasasan elementtheuse,attempted use,orthreatened use ofphysicalforce
         againstthe person ofanother,or

         (2)ismurder,voluntarymanslaughter,kidnapping,aggravated assault,aforcible
         sex offense, robbery, arson, extortion, or the use or unlaw ful possession of a
         tireann described in 26 U.S.C.j 5845(a)orexplosivematerialasdefined in 18
         U.S.C.j841(c).
 U.S.S.G.j4B1.2(a)(2016). A iicontrolled substanceoffense''isdefined astsan offenseunder
 federalor state law ,punishable by im prisonm entfor a term exceeding one year,thatprohibits the

         gAs aresultofbeing designated as acareeroffender, Stokeswasassigned abase offense levelof32
 and acrim inalhistorycategory ofVI.



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  . . .   distribution ...ofacontrolled substance ...orthepossession ofacontrolled substance ...

  withintentto ...distribute....''U.S.S.G.j481.2(b).Theapplication notesto j481.2further
 provide thatthe terms ik$gclrime ofviolence'and icontrolled substance offense'include the
  offenses of aiding and abetting,conspiring,and attem pting to com m it such offenses.'' U .S.S.G .

  j481.2app.n.1.
             Duringthehearingontheparties'objections,Stokesarguedthatthefirstissue-whether
  eitherofthe instantoffensesisa crimeofviolence ora controlled substance offenseunder j
 48 1.2 - is dispositive,and that the courtneed not decide whether his prior convictions for

 attem pted robbery are qualifying predicate offenses. W ith respect to this issue, the parties'

 disputecenterson whetherthecourtmustapply acategoricalapproach in deciding thisissue,and

 focus solely on the statutory definitions of the offenses in question, or w hether the courtcan

 expand the scope of its analysis to include the particular facts underlying the offenses of

 conviction. See.e.g.,M athisv.United States,136 S.Ct.2243,2248 (2016)(explaining that
 when courtsapply a categoricalapproach,they Clfocussolely on ...theelementsofthecrime of

 conviction''and çiignorgejtheparticularfactsofthecase''l;seealso Descampsv.United States,
  133 S.Ct.2276,2285(2013)(describingtheCkcentralfeature''ofthecategoricalapproach as;$a
 focusontheelements,ratherthanthefacts,ofacrime'').
             W hile the govemmentarguesthatthe Application Notesto j 481.2 contain language
 suggesting that sentencing courts can consider the specific conduct at issue in determ ining
 w hether an offense is a crim e of violence or controlled substance offense,9 Stokes correctly

 points outthatthe Fourth Circuithas lkapplied the categoricalapproach to instantoffenses w hen


         9 D uring the hearing,
                                the governmentspecitically cited to Application Note 2 to j 481.2,which
 provides that dtin determining whether an offense is a crime of violence or controlled substance for the
 purposesofj481.1(CareerOffenderlstheoffenseofconviction(i.e
                                                           -.,theconductofwhichthedefendantwas
 convicted)isthefocusofinquiry.''U.S.S.G.j48l.1app.n.2.
                                                   20

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 determ ining whether the defendant should be sentenced as a 'career offender' under the

  Sentencing Guidelines....''' United Statesv.Faulls,82lF.3d 502,515 n.5 (4th Cir.2016)
 (citingUnited Statesv.Jolmson,953F,2d 100,114 (4th Cir.1991),
                                                             .UnitedStatesv.Martin,215
 F.3d470,474 (4thCir.2000));seealsoUnitedStatesv.Piccolo,441F.3d 1084,1087& n.6 (9th
 Cir.2006)(holding thatisthecrime-of-violencedetermination underU.S.S.G.j 4B1.2,a legal
 question,isproperly decided under àajcategoricalanalysisin casesofboth priorand current
 offenses,''and noting thatidltlhe Fourth Circuitappliesthe categoricalapproach to an instant
 offense in determ ining whetherthatoffense qualifies as a crim e ofviolence underthe Sentencing

 Guidelines'').Stokesalsopersuasivelyarguesthatneitheroftheinstantoffensesofconvictionis
 categorically a crime of violence or a controlled substance offense forpurposes ofthe career

 offenderprovision.

         Ultim ately,however,the courtneed notdecide this issue. The courtagreeswith Stokes

 thatthe career offender designation overstates his criminalhistory,given the age ofthe prior

 convictionsand the factthatthey relateto offensesthatwere comm itted when Stokeswasonly

  18 years old. Thus,even ifStokestechnically qualifies as a careeroffender,the courtis ofthe

 opinion thata downward departure iswarranted. See U.S.S.G.j4A1.3(b). Accordingly,the
 courtwillsustain Stokes'objection and sentence him asifhe did nothavethecareeroffender
 designation. Specifically,the courtw illdepart dow nw ard to a total offense level of 30 and a

 crim inalhistory category ofV .10




          10The courtnotesthatthe Probation Office provided a listofdisciplinary actionstaken againstStokes
 while he was incarcerated forhisprioroffenses. W hile the courttinds thata downward departure from the
 careeroffenderlevelsiswarranted notwithstanding Stokes'institutionalrecord,the courtnonethelessbelieves,
 contrary to Stokes'assertion,thata defendant's institutionalrecord can be considered in determining where in
 the applicableGuidelinesrangethedefendantshould besentenced.



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        ll.     H alisi's Presentence R eport

        A.      R ple Enhancem ent

        The governmentfiled onewritten objection to Halisi'spresentencereport. Specifically,
 the govemmentobjectsto the absenceofa role elzhancementunderj 3B1.1ofthe Sentencing
 Guidelines. The governm ent argues that H alisi should, at a m inim um , receive a tw o-level

 increaseunderj381.1(c).
        Section 3B1.1(c) provides for a two-level adjustment Siliqf the defendant was an
 Organizer, leader, m anager,Or supervisor in any crim inal activity'' involving less than five

 participants. U.S.S.C.j 3B1.1(c). In determining whether a sentencing enhancement
 appropriate underthisprovision,dktitlessuch as ikingpin'or dboss'are notcontrolling. U .S.S.G .

 j3B1.1app.n.4.Instead,sentencingcourtsaredirectedtoconsiderfactorssuch asidtheexercise
 of decision making authority,the nature ofparticipation in the comm ission ofthe offense,the

 recruitm ent of accom plices,the claim ed right to a larger share of the fruits of the crim e,the

 degree of participation in planning or organizing the offense,the nature and scope ofthe illegal

 activity,and the degree ofcontroland authority exercised overothers.'' 1d.

        Upon review of the record, the court agrees with the Probation Office that a role

 enhancem ent is not appropriate in Halisi's case. W hile Halisiw as identifed in the gang's

 m itingsasthehighestranking mem berofthe 99 Goon Syndikate,there isnoevidencethathe

 w as involved in planning or com m itting any of the particular robbery offenses com m itted by

 other m em bers of the gang,or thathe claim ed a rightto a larger share ofthe proceeds of those

 crimes. Becausethemajority ofthefactorssetforth aboveweighsagainstthe application ofa
 roleenhancement,thegovemment'sobjectionisoverruled.




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        B.     Adiustm entfor Obstruction ofJustice

        Halisi also filed objections to portions of his presentence reportthat affected the
 calculation of the applicable G uidelines range of im prisonm ent. H alisi first challenges the

 application ofatwo-levelenhancementforobstruction ofjusticeunderU.S.S.G.j 3C1.1. The
 enhancementwasappliedonthegroundthatHalisicommittedperjuryduringtrialby kddenlyingq
 guiltunderoath''and ttdengyinglconductthatformsthebasisofthe offensesofconviction.''
 PSR !87.
        Pursuant to j 3C1.1, the obstruction-of-justice enhancement applies tigijf (l) the
 defendantwillfully obstructed orimpeded,orattempted to obstructorimpede,theadm inistration

 ofjustice ...,and (2) the obstructive conductrelated to ...the defendant's offense of
 conviction andanyrelevantconduct.'' U.S.S.G.j3CI.I. Theenhancementtçisnotintended to
 punish a defendant for the exercise of a constitutionalright.'' U.S.S.G.j 3C1.1 app.n.2.
 Consequently,the sentencing courtcalm otapply the erlhancem enttisim ply because a defendant

 testifieson hisown behalfand thejury disbelieveshim.'' United Statesv.Bustos-Flores,362
 F.3d 1030,1037 (8th Cir.2004)(citation and internalquotation marks omitted). lnstead,to
 im posethe enhancementbased on a defendant'stestimony,'ithe sentencing coul'
                                                                            tmustfind that

 thedefendanti(1)gavefalsetestimony;(2)concerningamaterialmatter;(3)with willfulintent
 to deceive ....''' United Statesy.Perez,661F.3d 189,192 (4th Cir.2011)(quoting United
 Statesv.Jones,308F.3d425,428n.2 (4thCir.2011)).
        Applying these principles,the courtisofthe opinion thatan enhancem entfor obstruction

 ofjusticeisnotwarrantedinHalisi'scase.W hilethejtu'
                                                   yultimately discredited atleastsomeof
 the testim ony thatHalisigave attrial,the courtbelieves thatthe application of an enhancem ent

 would unfairly punish H alisifor exercising his constitutionalrightto testify on his ow n behalf.

 Accordingly,Halisi'sobjectiontotheenhancementissustained.


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         C.     A pplication ofthe G roupina Rules

         H alisi also adopted Stokes' objection to the Probation Office's application of the

  grouping provisionsofthe Sentencing Guidelines. Forthe reasonssetforth above,the courtwill

  sustainthatobjection.LikeStokes,Halisiwillbeassignedacombined adjustedoffenselevelof
  30,whichistheadjustedoffenselevelapplicabletotheunderlyingobstnzctionoffense.
         D.     A cceptance ofR esponsibility

         Halisi'sfinalobjection to the calculation ofthe applicable Guidelinesrangepertainsto
 theabsenceofareductionforacceptanceofresponsibilityunderU.S.S.G.j3EI.I.Thatsection
  instnlcts the sentencing courtto decrease the defendant's offense levelby tw o if he Csclearly

 demonstratesacceptance ofresponsibility forhisoffense,''U.S.S.G.j 3E1.1(a),andto decrease
 itby one m ore levelupon m otion of the govem m ent if his offense level prior to the tw o-level

 reductionwas16orhigher,U.S.S.G.j3E1.1(b).
         Thecommentaryto j3El.1providesanon-exclusivelistofkdappropriateconsiderations''
 in determ ining whether a defendant is entitled to a reduction for acceptance of responsibility.

 U.S.S.G. j 3E1.1 app.           The first consideration is whether the defendant dktruthfully
 admittgedqtheconductcomprising the offensets)ofconviction ...and any additionalrelevant
 conductforwhich thedefendantisaccountableunderj 1B1.3 (RelevantConductl.''U.S.S.G.j
 3E1.1 app.n.1(A). (iA.
                      s a generalrule,acceptance of responsibility is inconsistentwith a
 defendant's decision to exercise his right to a trial.'' United States v.Jones,233 F.A pp'x 273,

 279(4thCir.2007).TheGuidelines,however,provideforalimitedexception:
         Thisadjustmentisnotintended to apply to adefendantwhoputsthegovernment
         to its burden ofproof attrialby denying the essentialfactualelem ents ofguilt,is
         convicted,and only then adm itsguiltand expresses rem orse. Conviction by trial,
         however,doesnotautom atically preclude a defendantfrom consideration for such
         a reduction. ln rare situationsa defendantm ay clearly dem onstrate an acceptance
         of responsibility for his crim inal conduct even though he exercises his
         constitutional rightto a trial. This m ay occur, for exam ple,w here a defendant
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         goestotrialto assertand preserveissuesthatdonotrelatetofactualguilt(e.g.,to
         m ake aconstitutionalchallenge to astatute orachallengeto theapplicability ofa
         statute to hisconduct). ln each such instance,however,a determination thata
         defendant has accepted responsibility will be based prim arily upon pre-trial
         statementsand conduct.

  U.S.S.G.j3E1.lapp.n.2(emphasisadded).
         The courtagreesw ith the Probation O ftice thatthis case isnotone ofthe ttrare situations''

  in which a defendantwho proceedsto trialmay stillbe entitled to a reduction foracceptanceof

  responsibility. Itis clear from the record thatHalisihas not fully accepted responsibility forhis

  actions,and thatatleast som e ofthe reasons he wentto trialare directly related to factual guilt.

  For these reasons, Halisi's objection to the absence of a reduction for acceptance of
  responsibility isoverruled.

                                            Conclusion

         Forthe reasons stated,the defendants'motions forjudgmentof acquittalare denied,
  Stokes'objectionsto the Probation Office'scalculation ofthe applicable Guidelinesrange are
  sustained, and Halisi's objections to the Probation Oftice's calculation of the applicable
  Guidelines range are sustained in partand overruled in part.

         The Clerk isdirected to send copiesofthism emorandum opinion and theaccompanying

 orderto a1lcounselofrecord.

                 rhis /'.
         DA TED :'      k
                        2       dayofDecember, 2016.


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